         Case 1:17-cv-08199-ALC Document 111 Filed 10/05/20 Page 1 of 2




                                           Law Office of
                           JAMES E. BAHAMONDE, P.C.
                                           2501 Jody Court
                                      North Bellmore, NY 11710
                                   Long Island Tel. (516) 783-9662                                10/5/20
                                   New York City Tel. (646) 290-8258
                                       Fax No. (646) 435-4376
                                     James@CivilRightsNY.com

                                                                       September 24, 2020

BY ECF

Hon. Andrew L. Carter, Jr
United States District Judge
Southern District of New York
500 Pearl St., Room 1950
New York, NY 10007


                               RE.    Hobbs, et al. v. Metropolitan Transit Authority, et al.,
                                      17cv8199 (ALC)(KNF)

Dear Judge Carter, Jr:

I represent the plaintiff in the above referenced action and pursuant to the court order, dated
September 11, 2020, hereby submit this joint status letter.

Since parties last communicated, Defendant Advanced Transit Co., Inc.’s attorney, Bruce
Strikowsky has represented that his client is no longer in operation and Advance Transit Co. has
not compensated his law firm.

Defendants MTA and NYC Transit Authority’s attorney, Alexis Downs, has asked for Plaintiff’s
current settlement demand. Therefore, Plaintiffs are presently preparing a demand.

To provide us a fair opportunity to begin settlement discussions and ascertain if settlement is
possible, parties seek a 45-day window to accomplish this task. At the end of 45 days, parties
propose filing a status letter with the court on or before November 9, 2020.

Thank you for your time and consideration.


                                                       Respectfully yours,

                                                       /s/ James E. Bahamonde

                                                       James E. Bahamonde, Esq.
        Case 1:17-cv-08199-ALC Document 111 Filed 10/05/20 Page 2 of 2

Law Office of
James E. Bahamonde, PC                                                   September 24, 2020


cc: (by ECF)
Alexis Downs
Executive Agency Counsel
Attorney for MTA and New York City Transit Authority


Bruce M. Strikowsky
Schnader Harrison Segal & Lewis LLP
Attorney for Advance Transit Co.




                                             10/5/20


                                           The parties should file a joint status report
                                           by November 9, 2020
